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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

BRIAN RUBENACKER,

       Plaintiff,                                              Case No.: 1:24-cv-02389

v.

THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.

                                         COMPLAINT

       Plaintiff, BRIAN RUBENACKER (“Rubenacker” or “Plaintiff”), by Plaintiff’s

undersigned counsel, hereby complains of the Partnerships and Unincorporated Associations

identified on Schedule A attached hereto (collectively, “Defendants”), and for Plaintiff’s

Complaint hereby alleges as follows:

                                JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Federal Copyright Act, 17 U.S.C. § 101, et seq., 28 U.S.C. §

1338(a)–(b), and 28 U.S.C. § 1331.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets consumers in the United States, including Illinois, through at least the fully interactive

commercial internet stores operating under the Defendant aliases and/or the online marketplace

accounts identified in Schedule A attached hereto (collectively, the “Defendant Internet Stores”).

Specifically, Defendants are reaching out to do business with Illinois residents by operating one

or more commercial, interactive internet stores through which Illinois residents can purchase


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products bearing infringing versions of Plaintiff’s copyrighted works. Each of the Defendants has

targeted Illinois residents by operating online stores that offer shipping to the United States,

including Illinois, accept payment in U.S. dollars and, on information and belief, has sold products

bearing infringing versions of Plaintiff’s federally registered copyrighted works to residents of

Illinois. Each of the Defendants is committing tortious acts in Illinois, is engaging in interstate

commerce, and has wrongfully caused Plaintiff substantial injury in the State of Illinois.

                                        INTRODUCTION

       3.      Plaintiff, BRIAN RUBENACKER, is the owner of the federal copyright

registrations that protect the creative content of Plaintiff’s illustrations. Rubenacker is a

professional painter who creates works that feature vibrant hues and playful scenes. From dapper

cats donning top hats to sophisticated dogs enjoying tea parties, his art fuses sophistication and

whimsy while weaving narratives that showcase animals engaged in activities that mirror human

experiences.

       4.      This action has been filed by Plaintiff to combat online copyright infringers who

trade upon Plaintiff’s reputation, goodwill, and valuable copyrights by selling and/or offering for

sale products in connection with Plaintiff’s illustrations. In addition, the Defendants are selling

unauthorized products that are based on and derived from the copyrighted subject matter of

Plaintiff’s images and illustrations.

       5.      Plaintiff is the owner of United States Copyright Registration Nos. VA 2-381-332;

VA 1-949-924; VA 2-381-293; VA 2-381-482; and VA 2-381-478 (the “Brian Rubenacker

Works”) and the registrations are attached hereto as Exhibit 1. Upon information and belief, the

copyrights have an effective date that predates the Defendants’ acts of copyright infringement.




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        6.      In an effort to illegally profit from the creative content of the Brian Rubenacker

Works, Defendants have created numerous Defendant Internet Stores and designed them to appear

to be selling authorized Brian Rubenacker Products.

        7.      The Defendant Internet Stores share unique identifiers, such as design elements and

similarities of the unauthorized products offered for sale, establishing a logical relationship

between them, and suggesting that Defendants’ illegal operations arise out of the same transaction,

occurrence, or series of transactions or occurrences. Defendants attempt to avoid liability by going

to great lengths to conceal both their identities and the full scope and interworking of their illegal

operation. Plaintiff is forced to file this action to combat Defendants’ piracy of the Brian

Rubenacker Works. Plaintiff has been and continues to be irreparably damaged through loss of

control over the creative content of the valuable copyrights, reputation, goodwill, the quality and

ability to license as a result of Defendants’ actions and seeks injunctive and monetary relief.

        8.      The rise of online retailing, coupled with the ability of e-commerce sites to hide

their identities, has made it nearly impossible for policing actions to be undertaken by Plaintiff

since availing itself of takedown procedures to remove infringing products would be an ineffective

and endless game of whack-a-mole against the mass piracy that is occurring over the internet.

Sadly, a swarm of infringers have decided to trade upon Plaintiff’s reputation, goodwill, and

valuable copyrights by selling and/or offering for sale products in connection with Plaintiff’s

illustrations. The aggregated effect of the mass piracy that is taking place has overwhelmed

Plaintiff and Plaintiff's ability to police Plaintiff's rights against the hundreds of anonymous

defendants who are selling illegal infringing products at prices below an original.

        9.      To be able to offer the infringing products at a price substantially below the cost of

original, while still being able to turn a profit after absorbing the cost of manufacturing, advertising,



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and shipping requires an economy of scale only achievable through a cooperative effort throughout

the supply chain. As Homeland Security’s recent report confirms, infringers act in concert through

coordinated supply chains and distribution networks to unfairly compete with legitimate brand

owners while generating huge profits for the illegal pirating network:

       Historically, many counterfeits were distributed through swap meets and individual
       sellers located on street corners. Today, counterfeits are being trafficked through
       vast e-commerce supply chains in concert with marketing, sales, and distribution
       networks. The ability of e-commerce platforms to aggregate information and
       reduce transportation and search costs for consumers provides a big
       advantage over brick-and-mortar retailers. Because of this, sellers on digital
       platforms have consumer visibility well beyond the seller’s natural
       geographical sales area.
                                                ...
       Selling counterfeit and pirated goods through e-commerce is a highly profitable
       activity: production costs are low, millions of potential customers are available
       online, transactions are convenient, and listing on well-branded e-commerce
       platforms provides an air of legitimacy.
                                                ...
       The impact of counterfeit and pirated goods is broader than just unfair competition.
       Law enforcement officials have uncovered intricate links between the sale of
       counterfeit goods and transnational organized crime. A study by the Better
       Business Bureau notes that the financial operations supporting counterfeit
       goods typically require central coordination, making these activities attractive
       for organized crime, with groups such as the Mafia and the Japanese Yakuza
       heavily involved. Criminal organizations use coerced and child labor to
       manufacture and sell counterfeit goods. In some cases, the proceeds from
       counterfeit sales may be supporting terrorism and dictatorships throughout the
       world.

See Department of Homeland Security, Combating Trafficking in Counterfeit and Pirated Goods,
Jan. 24, 2020, (https://www.dhs.gov/publication/combating-trafficking-counterfeit-and-pirated-
goods), at 10, 19 (emphasis added) attached hereto as Exhibit 2.

       10.     The Defendant Internet Stores share unique identifiers, such as design elements and

similarities of the unauthorized products offered for sale, establishing a logical relationship between

them and suggesting that Defendants’ illegal operations arise out of the same transaction, occurrence,

or series of transactions or occurrences. Defendants use aliases to avoid liability by going to great

lengths to conceal both their identities as well as the full scope and interworking of their illegal


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network. Despite deterrents such as takedowns and other measures, the use of aliases enables

infringers to stymie authorities:

        The scale of counterfeit activity online is evidenced as well by the significant efforts
        e-commerce platforms themselves have had to undertake. A major e-commerce
        platform reports that its proactive efforts prevented over 1 million suspected bad
        actors from publishing a single product for sale through its platform and blocked
        over 3 billion suspected counterfeit listings from being published to their
        marketplace. Despite efforts such as these, private sector actions have not been
        sufficient to prevent the importation and sale of a wide variety and large volume of
        counterfeit and pirated goods to the American public.
                                                   ...
        A counterfeiter seeking to distribute fake products will typically set up one or more
        accounts on online third-party marketplaces. The ability to rapidly proliferate third-
        party online marketplaces greatly complicates enforcement efforts, especially for
        intellectual property rights holders. Rapid proliferation also allows counterfeiters
        to hop from one profile to the next even if the original site is taken down or blocked.
        On these sites, online counterfeiters can misrepresent products by posting pictures
        of authentic goods while simultaneously selling and shipping counterfeit versions.
                                                   ...
        Not only can counterfeiters set up their virtual storefronts quickly and easily, but
        they can also set up new virtual storefronts when their existing storefronts are shut
        down by either law enforcement or through voluntary initiatives set up by other
        stakeholders such as market platforms, advertisers, or payment processors.

Id. at 5, 11, 12.

        11.     eCommerce giant Alibaba has also made public its efforts to control piracy and

counterfeiting on its platform. It formed a special task force that worked in conjunction with Chinese

authorities for a boots-on-the-ground effort in China to stamp out counterfeiters. In describing the

counterfeiting networks it uncovered, Alibaba expressed its frustration in dealing with “vendors,

affiliated dealers and factories” that rely upon fictitious identities that enable counterfeiting rings to

play whack-a-mole with authorities:




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See Xinhua, Fighting China’s Counterfeits in the Online Era, China Daily (Sept. 19, 2017), available
at www.chinadaily.com.cn/business/2017-09/19/content_32200290.htm (Exhibit 3).

       12.     Plaintiff has been and continues to be irreparably harmed through loss of control

over Plaintiff’s reputation, goodwill, ability to license, and the quality of goods featuring the Brian

Rubenacker Works. The rise of eCommerce as a method of supplying goods to the public exposes

brand holders and content creators that make significant investments in their products to significant

harm from counterfeiters:

       Counterfeiting is no longer confined to street-corners and flea markets. The
       problem has intensified to staggering levels, as shown by a recent Organisation for
       Economic Cooperation and Development (OECD) report, which details a 154

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        percent increase in counterfeits traded internationally — from $200 billion in 2005
        to $509 billion in 2016. Similar information collected by the U.S. Department of
        Homeland Security (DHS) between 2000 and 2018 shows that seizures of
        infringing goods at U.S. borders have increased 10-fold, from 3,244 seizures per
        year to 33,810.
                                                  …

        The rise in consumer use of third-party marketplaces significantly increases the
        risks and uncertainty for U.S. producers when creating new products. It is no longer
        enough for a small business to develop a product with significant local consumer
        demand and then use that revenue to grow the business regionally, nationally, and
        internationally with the brand protection efforts expanding in step. Instead, with the
        international scope of e-commerce platforms, once a small business exposes itself
        to the benefits of placing products online — which creates a geographic scope far
        greater than its more limited brand protection efforts can handle — it begins to face
        increased foreign infringement threat.
                                                 ...

        Moreover, as costs to enter the online market have come down, such market entry
        is happening earlier and earlier in the product cycle, further enhancing risk. If a new
        product is a success, counterfeiters will attempt, often immediately, to outcompete
        the original seller with lower-cost counterfeit and pirated versions while avoiding
        the initial investment into research and design.
                                                  ...
        Counterfeiters have taken full advantage of the aura of authenticity and trust that
        online platforms provide. While e-commerce has supported the launch of thousands
        of legitimate businesses, their models have also enabled counterfeiters to easily
        establish attractive “store-fronts” to compete with legitimate businesses.

See Combating Trafficking in Counterfeit and Pirated Goods, Jan. 24, 2020, (Exhibit 2) at 4, 8,
11.

        13.     Not only are the creators and copyright owners harmed, the public is harmed as well:

        The rapid growth of e-commerce has revolutionized the way goods are bought and
        sold, allowing for counterfeit and pirated goods to flood our borders and penetrate
        our communities and homes. Illicit goods trafficked to American consumers by e-
        commerce platforms and online third-party marketplaces threaten public health and
        safety, as well as national security. This illicit activity impacts American innovation
        and erodes the competitiveness of U.S. manufacturers and workers. The President’s
        historic memorandum provides a much warranted and long overdue call to action
        in the U.S. Government’s fight against a massive form of illicit trade that is
        inflicting significant harm on American consumers and businesses. This illicit trade
        must be stopped in its tracks.

Id. at 3, 4. (Underlining in original).


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        14.     Plaintiff’s investigation shows that the telltale signs of an illegal piracy ring are

present in the instant action. For example, Schedule A shows the use of store names by the Defendant

Internet Stores that employ no normal business nomenclature and, instead, have the appearance of

being made up, or if a company that appears to be legitimate is used, online research shows that there

is no known address for the company. Thus, the Defendant Internet Stores are using fake online

storefronts designed to appear to be selling genuine Brian Rubenacker Products, while selling

inferior imitations of Plaintiff’s Brian Rubenacker Products. The Defendant Internet Stores also

share unique identifiers, such as design elements and similarities of the infringing products offered

for sale, establishing a logical relationship between them and suggesting that Defendants’ illegal

operations arise out of the same transaction, occurrence, or series of transactions or occurrences.

Defendants attempt to avoid liability by going to great lengths to conceal both their identities and the

full scope and interworking of their illegal piracy operation. Plaintiff is forced to file this action to

combat Defendants’ infringement of Plaintiff’s Brian Rubenacker Works, as well as to protect

unknowing consumers from purchasing unauthorized Brian Rubenacker Products over the internet.

        15.     This Court has personal jurisdiction over each Defendant, because each Defendant

conducts significant business in Illinois and in this judicial district. Furthermore, the acts and

events giving rise to this lawsuit were undertaken in Illinois and in this judicial district. In addition,

each defendant has offered to sell and ship infringing products into this judicial district.

                                          THE PLAINTIFF

        16.     Plaintiff, BRIAN RUBENACKER, is the owner of the Copyright Registrations that

protect the creative content of the Brian Rubenacker Works. Rubenacker is a professional painter

who creates works that feature vibrant hues and playful scenes. From dapper cats donning top hats

to sophisticated dogs enjoying tea parties, his art fuses sophistication and whimsy while weaving



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narratives that showcase animals engaged in activities that mirror human experiences. The colors

and intricate details of his art invite viewers to pause, smile, and immerse themselves in a world

where joy and imagination reign supreme.

       17.     Rubenacker has painted professionally for over twenty years. In 2000, he painted

his first pet portrait of his beloved Boston Terrier, Lacey, as a birthday gift for his wife. To this

day, Lacey is the studio mascot and continues to inspire his artwork. His works have been featured

at Green Rice Gallery, 323 East Lift, Where’s My Bone, Dog Art Today, Phetched, and on the

CBS television sitcom “2 Broke Girls” (2011-2017). He also sell prints of his works on shirts,

mugs, stickers, phone cases, and various accessories on his personal website and Etsy store.

       18.     Rubenacker has expended substantial time, money, and other resources in

developing, advertising, and otherwise promoting the Brian Rubenacker Works. As a result,

products associated with the Brian Rubenacker Works are recognized and exclusively associated

by consumers, the public, and the trade as products authorized by Plaintiff (the “Brian Rubenacker

Products”).




https://brianrubenacker.com/collections/art-prints

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       19.      Plaintiff is the owner of the United States Copyright Registrations that cover the

Brian Rubenacker Works. The Registrations are valid, subsisting, and in full force and effect. True

and correct copies of the registration certificates for the Brian Rubenacker Works are attached hereto

as Exhibit 1.

       20.      In an effort to illegally profit from the creative content of the Brian Rubenacker

Works, Defendants have created numerous Defendant Internet Stores and have designed them to

appear to be selling authorized Brian Rubenacker Products.

       21.      Plaintiff has invested substantial time, money, and effort in building up and

developing consumer awareness, goodwill, and recognition in the Brian Rubenacker Works.

       22.      The success of the Brian Rubenacker Works is due in large part to Plaintiff’s

marketing, promotional, and distribution efforts.

       23.      As a result of Plaintiff’s efforts, the quality of the Brian Rubenacker Products, the

promotional efforts for Plaintiff's products and designs, press and media coverage, and social media

coverage, members of the public have become familiar with the Brian Rubenacker Works and

associate them exclusively with Plaintiff.

       24.      Plaintiff has made efforts to protect Plaintiff's interests in and to the Brian

Rubenacker Works. No one other than Plaintiff and Plaintiff’s licensees are authorized to

manufacture, import, export, advertise, create derivative works, offer for sale, or sell any goods

utilizing the Brian Rubenacker Works without the express written permission of Plaintiff.

                                       THE DEFENDANTS

       25.      Defendants are individuals and business entities who, upon information and belief,

reside in the People’s Republic of China or other foreign jurisdictions. Defendants conduct business

throughout the United States, including within Illinois and in this judicial district, through the



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operation of the fully interactive commercial websites and online marketplaces operating under the

Defendant Internet Stores. Each Defendant targets the United States, including Illinois, and has

offered to sell and, on information and belief, has sold and continues to sell illegal Brian Rubenacker

Products to consumers within the United States, including Illinois and in this judicial district.

                        THE DEFENDANTS’ UNLAWFUL CONDUCT

       26.     The success of the Brian Rubenacker Works has resulted in significant copying of

the creative content protected by Plaintiff’s copyright registrations. Plaintiff has identified

numerous fully interactive websites and marketplace listings on various platforms. Each Defendant

targets consumers in the United States, including the State of Illinois, and has offered to sell and,

on information and belief, has sold and continues to sell infringing products that violate Plaintiff’s

intellectual property rights in the Brian Rubenacker Works (“Infringing Products”) to consumers

within the United States, including the State of Illinois.

       27.      Upon information and belief, Defendants facilitate sales by designing the

Defendant Internet Stores so that they appear to unknowing consumers to be authorized online

retailers, outlet stores, or wholesalers selling genuine Brian Rubenacker Products.

       28.     The Defendant Internet Stores intentionally conceal their identities and the full

scope of their piracy operations in an effort to deter Plaintiff from learning Defendants’ true

identities and the exact interworking of Defendants’ illegal operations. Through their operation of

the Defendant Internet Stores, Defendants are directly and personally contributing to, inducing,

and engaging in the sale of Infringing Products as alleged, often times as partners, co-conspirators,

and/or suppliers. Upon information and belief, Defendants are an interrelated group of infringers

working in active concert to knowingly and willfully manufacture, import, distribute, offer for

sale, and sell Infringing Products.



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       29.     Upon information and belief, at all times relevant hereto, the Defendants in this

action have had full knowledge of Plaintiff’s ownership of the Brian Rubenacker Works, including

Plaintiff's exclusive right to use and license such intellectual property and the goodwill associated

therewith.

       30.     Defendants often go to great lengths to conceal their identities by often using multiple

fictitious names and addresses to register and operate their massive network of Defendant Internet

Stores. Upon information and belief, Defendants regularly create new websites and online

marketplace accounts on various platforms using the identities listed in Schedule A to the Complaint

as well as other unknown fictitious names and addresses. Such Defendant Internet Store registration

patterns are one of many common tactics used by the Defendants to conceal their identities, the full

scope and interworking of their massive pirating operation, and to avoid being shut down.

       31.     The Infringing Products for sale in the Defendant Internet Stores bear similarities and

indicia of being related to one another, suggesting that the Infringing Products were manufactured by

and come from a common source and that, upon information and belief, Defendants are interrelated.

       32.     In addition to operating under multiple fictitious names, Defendants in this case and

defendants in other similar cases against online infringers use a variety of other common tactics to

evade enforcement efforts. For example, infringers like Defendants will often register new online

marketplace accounts under new aliases once they receive notice of a lawsuit. Infringers also typically

ship products in small quantities via international mail to minimize detection by U.S. Customs and

Border Protection. A 2021 U.S. Customs and Border Protection report on seizure statistics indicated

that e-commerce sales accounted for 13.3% of total retail sales with second quarter of 2021 retail e-

commerce sales estimated at $222.5 billion. U.S. Customs and Border Protection, Intellectual

Property             Right             Seizure             Statistics,            FY             2021



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(https://www.cbp.gov/sites/default/files/assets/documents/2022-Sep/202994%20-

%20FY%202021%20IPR%20Seizure%20Statistics%20BOOK.5%20-

%20FINAL%20%28508%29.pdf) at 23. A true and correct copy of CBP’s FY 2021 report is attached

hereto as Exhibit 4. In FY 2021, there were 213 million express mail shipments and 94 million

international mail shipments. Id. Nearly 90 percent of all intellectual property seizures occur in the

international mail and express environments. Id. at 27. The “overwhelming volume of small packages

also makes CBP’s ability to identify and interdict high risk packages difficult.” Id. at 23.

        33.     Further, infringers such as Defendants, typically operate multiple credit card merchant

accounts and third-party accounts, such as PayPal, Inc. (“PayPal”) accounts, behind layers of payment

gateways so that they can continue operation in spite of Plaintiff’s enforcement efforts. Upon

information and belief, Defendants maintain off-shore bank accounts and regularly move funds from

their PayPal accounts to off-shore bank accounts outside the jurisdiction of this Court. Indeed,

analysis of PayPal transaction logs from previous similar cases indicates that offshore infringers

regularly move funds from U.S.-based PayPal accounts to foreign-based bank accounts, such as

China-based bank accounts, outside the jurisdiction of this Court.

        34.     Defendants, without any authorization or license, have knowingly and willfully

pirated Plaintiff’s Brian Rubenacker Works in connection with the advertisement, distribution,

offering for sale, and sale of illegal products into the United States and Illinois over the internet.

Each Defendant Internet Store offers shipping to the United States, including Illinois, and, on

information and belief, each Defendant has offered to sell Infringing Products into the United

States, including Illinois.




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                                       COUNT I
                                COPYRIGHT INFRINGEMENT
        35.     Plaintiff repeats and incorporates by reference herein the allegations contained in

the above paragraphs of this Complaint.

        36.     The Brian Rubenacker Works have significant value and have been produced and

created at considerable expense.

        37.     At all relevant times, Plaintiff has been the holder of the pertinent exclusive rights

infringed by Defendants, as alleged hereunder, including but not limited to the Brian Rubenacker

Works, including derivative works. The Brian Rubenacker Works are the subject of valid

Copyright Registration Certificates issued by the Register of Copyrights. (Exhibit 1).

        38.     Each Defendant, without the permission or consent of Plaintiff, has, and continues

to sell online pirated derivative works of the copyrighted Brian Rubenacker Works. Each

Defendant has violated Plaintiff’s exclusive rights of reproduction and distribution. Each

Defendant’s actions constitute infringement of Plaintiff’s exclusive rights protected under the

Copyright Act (17 U.S.C. §101 et seq.).

        39.     The foregoing acts of infringement constitute a collective enterprise of shared,

overlapping facts and have been willful, intentional, and in disregard of and with indifference to

the rights of the Plaintiff.

        40.     As a result of each Defendant’s infringement of Plaintiff’s exclusive rights under

copyright, Plaintiff is entitled to relief pursuant to 17 U.S.C. §504 and to Plaintiff’s attorneys’ fees

and costs pursuant to 17 U.S.C. §505.

        41.     The conduct of each Defendant is causing and, unless enjoined and restrained by

this Court, will continue to cause Plaintiff great and irreparable injury that cannot fully be

compensated or measured in money. Plaintiff has no adequate remedy at law. Pursuant to 17 U.S.C.


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§§502 and 503, Plaintiff is entitled to injunctive relief prohibiting each Defendant from further

infringing Plaintiff’s copyrights and ordering that each Defendant destroy all unauthorized copies.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

       1) That Defendants, their affiliates, officers, agents, employees, attorneys, and all persons

acting for, with, by, through, under, or in active concert with them be temporarily, preliminarily,

and permanently enjoined and restrained from:

       a. Using the Brian Rubenacker Works or any reproductions, copies, or colorable

           imitations thereof in any manner in connection with the distribution, marketing,

           advertising, offering for sale, or sale of any product that is not an authorized Brian

           Rubenacker Product or is not authorized by Plaintiff to be sold in connection with the

           Brian Rubenacker Works;

       b. passing off, inducing, or enabling others to sell or pass off any product or not produced

           under the authorization, control, or supervision of Plaintiff and approved by Plaintiff

           for sale under the Brian Rubenacker Works;

       c. further infringing the Brian Rubenacker Works and damaging Plaintiff’s goodwill;

       d. shipping, delivering, holding for sale, transferring or otherwise moving, storing,

           distributing, returning, or otherwise disposing of, in any manner, products or inventory

           not authorized by Plaintiff to be sold or offered for sale, and which directly use the Brian

           Rubenacker Works, and which are derived from Plaintiff’s copyrights in the Brian

           Rubenacker Works; and

       e. using, linking to, transferring, selling, exercising control over, or otherwise owning the

           Defendant Internet Stores, or any other online marketplace account that is being used to



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            sell products or inventory not authorized by Plaintiff which are derived from Plaintiff’s

            copyrights in the Brian Rubenacker Works;

         2) Entry of an Order that, upon Plaintiff’s request, those in privity with Defendants and

those with notice of the injunction, including any online marketplaces, social media platforms,

Facebook, YouTube, LinkedIn, Twitter, internet search engines such as Google, Bing, and Yahoo,

web hosts for the Defendant Internet Stores, shall:

         a. disable and cease providing services for any accounts through which Defendants

            engage in the sale of products not authorized by Plaintiff which reproduce the Brian

            Rubenacker Works or are derived from the Brian Rubenacker Works, including any

            accounts associated with the Defendants listed on Schedule A;

         b. disable and cease displaying any advertisements used by or associated with Defendants

            in connection with the sale of products not authorized by Plaintiff which are derived

            from the Brian Rubenacker Works; and

         c. take all steps necessary to prevent links to the Defendant accounts identified on

            Schedule A from displaying in search results, including, but not limited to, removing

            links to the Defendant accounts from any search index;

         3) For Judgment in favor of Plaintiff against Defendants that they have: a) willfully

infringed Plaintiff’s rights in Plaintiff’s federally registered copyrights pursuant to 17 U.S.C. §501;

and b) otherwise injured the business reputation and business of Plaintiff by Defendants’ acts and

conduct set forth in this Complaint;

         4) For Judgment in favor of Plaintiff against Defendants for actual damages or statutory

damages pursuant to 17 U.S.C. §504, at the election of Plaintiff, in an amount to be determined at

trial;


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      5) That Plaintiff be awarded Plaintiff’s reasonable attorneys’ fees and costs; and

      6) Award any and all other relief that this Court deems just and proper.

DATED: March 25, 2024                              Respectfully submitted,

                                                   /s/ Keith A. Vogt
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